
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there was presented and necessarily passed upon a question under the Constitution of the United States, viz.: Appellant contended that evidence sought to be used against him should have been suppressed because it was procured by an unlawful search and seizure, in violation of his rights under the Fourth and Fourteenth Amendments of the Constitution of the United States, in that the search warrant, pursuant to which the search and seizure was conducted, was issued without probable cause and did not particularly describe the things to be seized. The Court of Appeals held that appellant’s constitutional rights had not been violated. [See 21 N Y 2d 658.]
